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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA
________________________________________________
                                                 :
MARK PICKEL and MELISSA PICKEL,                  : CIVIL ACTION
                              Plaintiffs,        :
                                                 :
    v.                                           : NO. 18-3400
                                                 :
LANCASTER COUNTY CHILDREN AND YOUTH              :
SOCIAL SERVICES, JADE LANDIS,                    :
NICOLE LAUZUZ [SIC], CRYSTAL NATAL,              :
KRYSTAL WNEK, JASON DOYLE,                       :
STEPHANIE VAN CISCO, and KAYLA TEEPLES,          :
                              Defendants.        :
________________________________________________:

                                        ORDER

       AND NOW, this 30th day of September, 2020, upon consideration of the
Motion for Partial Summary Judgment filed by Plaintiffs, the Motion for Summary
Judgment filed by Defendants Landis and Lauzus, the Motion for Summary Judgment
filed by Defendants Lancaster County Children and Youth Social Services, Natal, Wnek,
Doyle, Van Cisco and Teeples, the Responses and Reply Briefs, and for the reasons set
forth in the accompanying Memorandum, IT IS ORDERED that:

       1.     Plaintiffs’ Motion (ECF No. 53) is DENIED;

       2.     Defendants’ Motions (ECF Nos. 54, 55) are GRANTED;

       3.     All other motions (ECF Nos. 79, 80, 81, 82) are DENIED as moot; and

       4.     Judgment is entered for Defendants against Plaintiffs, and the Clerk of
Court shall mark this case CLOSED for all purposes, including statistics.



                                                    BY THE COURT:



                                                    __/s/ Henry S. Perkin____________
                                                    HENRY S. PERKIN
                                                    United States Magistrate Judge
